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  4
      Entered on Docket
  5 October 31, 2018
___________________________________________________________________
  6

  7

  8
         ROBERT E. ATKINSON, ESQ., Bar No. 9958
  9      Email: robert@nv-lawfirm.com
 10
         ATKINSON LAW ASSOCIATES LTD.
         8965 S Eastern Ave, Suite 260
 11      Las Vegas, NV 89123
         Telephone: (702) 614-0600
 12      Attorney for Plaintiff
 13
                                   UNITED STATES BANKRUPTCY COURT
 14                                   FOR THE DISTRICT OF NEVADA
 15
           In re:                                            Case No. 17-12299-abl
 16                                                          Chapter 7
           SOUTHEAST HOLDINGS
 17
           CORPORATION,
 18
                                  Debtor.
 19

 20
           BRIAN D. SHAPIRO, Trustee                         Adv. No. 18-01046-abl
 21                               Plaintiff,
           v.                                                ORDER APPROVING STIPULATION
 22
                                                             TO EXTEND DISCOVERY DEADLINES
 23        ODIN, LLC; and JULIA VASSINA;

 24
                                  Defendants.

 25

 26                 The Court considered the stipulation between Plaintiff and Defendant entitled

 27      STIPULATION TO EXTEND DISCOVERY DEADLINES [Adv. ECF #20] (the

 28
         “Stipulation”).



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 1
            Good cause appearing,
 2
     IT IS HEREBY ORDERED:
 3
            1.   The Stipulation (attached here as Exhibit A) is approved.
 4
            2.   The deadline for Defendants to produce their Initial Disclosures and List of
 5
                 Witnesses is hereby set for November 27, 2018. If Defendants do not produce the
 6
                 documents on or before that date, then Plaintiff may file a motion to compel under
 7
                 Bankruptcy Rule 7037 / FRCP 37 and seek any appropriate relief.
 8
            3.   The deadline for Defendant to respond to the request for production of documents
 9
                 is hereby set for November 27, 2018. If Defendants do not produce the
10
                 documents on or before that date, then Plaintiff may file a motion to compel under
11
                 Bankruptcy Rule 7037 / FRCP 37 and seek any appropriate relief.
12
            4.   Plaintiff may serve notices of rescheduled depositions on Defendants, setting a
13
                 specific time, date, and location in the future for the two depositions.
14
            5.   The discovery deadline is hereby extended to March 31, 2019.
15
     IT IS SO ORDERED.
16
                                               # # #
17
     Respectfully submitted by:
18
        /s/ Robert E. Atkinson
19   ROBERT E. ATKINSON, ESQ.
     Nevada Bar No. 9958
20

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                       EXHIBIT A
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     Las Vegas, NV 89123
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     Attorney for Plaintiff
 5
                               UNITED STATES BANKRUPTCY COURT
 6
                                  FOR THE DISTRICT OF NEVADA
 7
     In re:                                                Case No. 17-12299-abl
 8                                                         Chapter 7
     SOUTHEAST HOLDINGS CORPORATION,
 9
                            Debtor.
10

11
     BRIAN D. SHAPIRO, Trustee;                            Adv. No. 18-01046-abl
12                         Plaintiff,
     v.
13                                                         STIPULATION TO EXTEND
                                                           DISCOVERY DEADLINES
14   ODIN, LLC; and JULIA VASSINA;
15                         Defendants.

16
              Plaintiff BRIAN SHAPIRO, Trustee (“Plaintiff”) and defendants ODIN, LLC and
17
     JULIA VASSINA (“Defendants”) hereby stipulate and agree as follows:
18
              WHEREAS, on September 6, 2018, Plaintiff produced its Initial Disclosures and List
19
     of Witnesses and served it on Defendants; and
20
              WHEREAS, Defendants have not yet produced their set of Initial Disclosures and List
21
     of Witnesses, but an agreement had been reached (via email) between counsel for Plaintiff and
22
     Defendants to allow for a courtesy extension, to October 30, 2018, for the time for the
23
     Defendants to produce their initial disclosures and list of witnesses; and
24
              WHEREAS, on September 6, 2018, Plaintiff propounded the following discovery on
25
     Defendants:
26
                  First Set of Request for Production of Documents to Defendant Odin, LLC
27
                  First Set of Request for Production of Documents to Defendant Julia Vassina
28
     ; and


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 1
            WHEREAS, an agreement had been reached (via email) between counsel for Plaintiff
 2
     and Defendants to allow for a courtesy extension, to October 30, 2018, for the time for the
 3
     Defendants to produce responses to the requests for production of documents; and
 4
            WHEREAS, on September 6, 2018, Plaintiff served the following notices of
 5
     deposition on Defendants:
 6
                Notice of Deposition of PMK of Odin, LLC
 7
                Notice of Deposition of Julia Vassina
 8
     which set a deposition date of October 19, 2018 for both deponents; and
 9
            WHEREAS, an agreement had been reached (via email) between counsel for Plaintiff
10
     and Defendants to allow for a courtesy extension to agree upon select the final date, time, and
11
     location of the depositions, targeting the second week of November in Los Angeles, but that
12
     date having not yet been set despite recent demand made upon Defendants to provide a list of
13
     available dates and times; and
14
            WHEREAS, on October 27, 2018, current counsel for Defendants (Christopher Burke,
15
     Esq.) filed a motion on shortened time to withdraw as attorney of record for Defendants, to
16
     which Plaintiff has no opposition; and
17
            WHEREAS, the continued scheduling conference in this adversary case has been set
18
     for November 20, 2018 at 10:00 a.m.; and
19
            WHEREAS, the discovery deadline is currently set for December 31, 2018, so an
20
     extension to that period is required;
21
            THEREFORE, in order to accommodate the withdrawal and to permit Defendants
22
     time to obtain new counsel and respond and participate in discovery, the parties agree to
23
     modify the discovery deadlines, as follows:
24
     ///
25
     ///
26
     ///
27
     ///
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     ///


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 1
     IT IS HEREBY STIPULATED AND AGREED:
 2
              1. The deadline for Defendants to produce their Initial Disclosures and List of
 3
                  Witnesses is set for November 27, 2018. If Defendants do not produce the
 4
                  documents on or before that date, then Plaintiff may file a motion to compel
 5
                  under Bankruptcy Rule 7037 / FRCP 37 and seek any appropriate relief.
 6
              2. The deadline for Defendant to respond to the request for production of
 7
                  documents is set for November 27, 2018. If Defendants do not produce the
 8
                  documents on or before that date, then Plaintiff may file a motion to compel
 9
                  under Bankruptcy Rule 7037 / FRCP 37 and seek any appropriate relief.
10
              3. Plaintiff may serve notices of rescheduled depositions on Defendants, setting a
11
                  specific time, date, and location in the future for the two depositions.
12
              4. The discovery deadline shall be extended to March 31, 2019.
13
     IT IS SO STIPULATED AND AGREED.
14
                                             # # # # #
15

16   Dated: October 29, 2018                           Dated: October 29, 2018

17
            /s/ Robert Atkinson                               /s/ Christopher Burke
18
     ROBERT E. ATKINSON, ESQ.                          CHRISTOPHER P. BURKE, ESQ.
19   Nevada Bar #9958                                  Nevada Bar #4093
     Attorney for Plaintiff                            Attorney for Defendants
20

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